          Case 17-01177-5-JNC                       Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                 Page 1 of 56

Fill in this information to identify your case and this filing:


Debtor 1          Kenneth            Ray                  Hardin
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Eastern District of North Carolina
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X
                                                                      Single-family home                           the amount of any secured claims on Schedule D:
            Doublewide and Lot
      1.1. _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
              1936 Russ Road
                                                                     Manufactured or mobile home                  entire property?         portion you own?
              Lumberton, NC 28360
             _________________________________________
                                                                     Land                                          60,000.00
                                                                                                                   $________________         60,000.00
                                                                                                                                            $_______________
                                                                     Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Fee Simple but Subject to a Deed of Trust
                                                                                                                   __________________________________________
                                                                 
                                                                 X Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
            Farm Shelter and 5.2 Acres
      1.2. ________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                   Condominium or cooperative                     Current value of the     Current value of the
              McDuffie Crossing Road
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                
                                                                X    Land                                           40,000.00
                                                                                                                   $________________          0.00
                                                                                                                                            $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.     Debtor owns property with wife and son
                                                                                                                   __________________________________________

                                                                Debtor 1 only
             ________________________________________
             County                                             Debtor 2 only
                                                                Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                
                                                                X
                                                                  At least one of the debtors and another              (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
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Debtor 1       Kenneth Ray                   Hardin
               _______________________________________________________                                 Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________                 Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  60,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes




           Make:                      Chevrolet
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     Truck
                                      ______________             
                                                                 X Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                      2011
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                4,920.00
                                                                                                                          $________________          4,920.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                       HD
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                      See
                                      ______________             
                                                                 X
                                                                   Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                       2003
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                           3,500.00                   3,500.00
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
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Debtor 1           Kenneth Ray                   Hardin
                   _______________________________________________________                                                       Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            Chevrolet
                                             ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           Silverado
                                             ______________                   
                                                                               X
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            2001
                                             ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                  1,500.00
                                                                                                                                                         $________________                 1,500.00
                                                                                                                                                                                          $________________
                                                                                   instructions)


            Make:                            Nissan
                                             ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           Truck
                                             ______________                   
                                                                              X Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.

                                             2001
                                                                              Debtor 2 only
            Year:                            ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                  1,000.00
                                                                                                                                                         $________________                 1,000.00
                                                                                                                                                                                          $________________
                                                                                   instructions)

                                             See Attachment 2: Additional Cars, Vans, Trucks, Tractors, Sport Utility Vehicles, and Motorcycles


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                   instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       22,170.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
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Debtor 1            Kenneth Ray                   Hardin
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                    Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                   portion you own?
                                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                                    or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X
        Yes. Describe. ........          Bedroom Furniture, Living Room Furniture, Kitchen Appliances, Freezer,                                                                                       2,600.00
                                                                                                                                                                                                     $___________________
                                         Washer/Dryer, Computer and Televisions(3)
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   
   X    No
       Yes. Describe. .........                                                                                                                                                                     $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   X
      No
    Yes. Describe. .........                                                                                                                                                                        $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                     $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
   X Yes. Describe. ..........12 gauge shot-gun and Pistol
                                                                                                                                                                                                      400.00
                                                                                                                                                                                                     $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
                               Clothing
   X    Yes. Describe. ..........                                                                                                                                                                     200.00
                                                                                                                                                                                                     $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   X    No
       Yes. Describe. ..........                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                  $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X
        No
       Yes. Give specific
                                                                                                                                                                                                     $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        3,200.00
                                                                                                                                                                                                     $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                    page 4
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Debtor 1             Kenneth Ray                  Hardin
                    _______________________________________________________                                                                                    Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                           Current value of the
                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                      or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................     $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              Wells Fargo Bank
                                                                                                  _________________________________________________________                                                             8,000.00
                                                                                                                                                                                                                       $__________________

                                             17.2. Checking account:                              BB&T Bank
                                                                                                  _________________________________________________________                                                             101.00
                                                                                                                                                                                                                       $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                            $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                            $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                            $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                            $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                 $__________________
                                             _________________________________________________________________________________________                                                                                 $__________________
                                             _________________________________________________________________________________________                                                                                 $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No
                                             Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                      $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                      $__________________
                                             _____________________________________________________________________                                                                   ___________%                      $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                             page 5
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Debtor 1            Kenneth Ray                  Hardin
                   _______________________________________________________                                Case number (if known)_____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No

 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________               $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________
                                         ______________________________________________________________________________________               $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________        $__________________

                                         Pension plan:             ___________________________________________________________________        $__________________

                                         IRA:                      ___________________________________________________________________        $__________________

                                         Retirement account:       ___________________________________________________________________        $__________________

                                         Keogh:                    ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________         $___________________
                                         Gas:                  ______________________________________________________________________         $___________________
                                         Heating oil:          ______________________________________________________________________
                                                                                                                                              $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                              $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                              $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                              $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                              $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                              $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                              $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________             $__________________
                                         _______________________________________________________________________________________              $__________________
                                         _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                        page 6
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Debtor 1           Kenneth Ray                   Hardin
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X
       No
      Yes. Give specific information                                                                                         Federal:               $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 $_________________
            and the tax years. ......................
                                                                                                                              Local:                 $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
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Debtor 1            Kenneth Ray                   Hardin
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X
        No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                         Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                        $__________________
                                                                      ___________________________________________ ____________________________                                                        $__________________
                                                                      ___________________________________________ ____________________________                                                        $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      $_____________________




35. Any financial assets you did not already list

   
   X
        No
       Yes. Give specific information. ...........
                                                                                                                                                                                                      $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................        8,101.00
                                                                                                                                                                                                      $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X
        No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                    Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                                    or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                    $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X
        No
       Yes. Describe ........                                                                                                                                                                      $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                    page 8
         Case 17-01177-5-JNC                                       Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                                                                 Page 9 of 56
Debtor 1             Kenneth Ray                  Hardin
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                    $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                     $_____________________
                                          ______________________________________________________________________                                                      ________%                     $_____________________
                                          ______________________________________________________________________                                                      ________%                     $_____________________

43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X
                      No
                     Yes. Describe.........
                                                                                                                                                                                                    $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                                $____________________
        information .........
                                          ______________________________________________________________________________________                                                                     $____________________
                                         ______________________________________________________________________________________                                                                     $____________________
                                         ______________________________________________________________________________________                                                                     $____________________
                                         ______________________________________________________________________________________                                                                     $____________________

                                          ______________________________________________________________________________________                                                                     $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                       0.00
                                                                                                                                                                                                    $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    No. Go to Part 7.
   
   X
     Yes. Go to line 47.
                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                                    or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                      $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                    page 9
              Case 17-01177-5-JNC                                          Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31 Page 10 of
 Debtor 1               Kenneth Ray                  Hardin
                       _______________________________________________________              56        Case number (if known)_____________________________________
                       First Name             Middle Name                  Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
     
     X     Yes ........................... 2366  Combine; MX 2855 International Tractor; 3330 International Sprayer; Corn
                                             Header; Bean Header; 3200 Case IH Sprayer; 1083 Case IH Combine; Tools                                                                                              214,603.00
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 214,603.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      60,000.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    22,170.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               3,200.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           8,101.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         214,603.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             248,074.00
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  248,074.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        308,074.00
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
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                                              56



                                   Attachment
                     Debtor: Kenneth Ray Hardin                  Case No:

 Attachment 1
          Heritage Softail
 Attachment 2: Additional Cars, Vans, Trucks, Tractors, Sport Utility Vehicles, and Motorcycles
      Make: Chevrolet
      Model: Truck
      Year: 1997
      Parties with an Interest in the Property: Only the Debtor
      Current Value of the Property: $750.00
      Current Value of Debtor’s Ownership Interest: $750.00

     Make: Ford
     Model: Truck
     Year: 1972
     Parties with an Interest in the Property: Only the Debtor
     Current Value of the Property: $1,500.00
     Current Value of Debtor’s Ownership Interest: $1,500.00

     Make: International
     Model: Truck
     Year: 1983
     Parties with an Interest in the Property: Only the Debtor
     Current Value of the Property: $2,500.00
     Current Value of Debtor’s Ownership Interest: $2,500.00

     Make: International
     Model: Truck
     Year: 1981
     Parties with an Interest in the Property: Only the Debtor
     Current Value of the Property: $2,000.00
     Current Value of Debtor’s Ownership Interest: $2,000.00

     Make: International
     Model: Truck
     Year: 1990
     Parties with an Interest in the Property: Only the Debtor
     Current Value of the Property: $4,500.00
     Current Value of Debtor’s Ownership Interest: $4,500.00
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                                                                           56
Fill in this information to identify your case:

Debtor 1            Kenneth Ray Hardin
                    __________________________________________________________________
                     First Name                   Middle Name                      Last Name

Debtor 2             ________________________________________________________________
(Spouse, if filing) First Name                    Middle Name                      Last Name


                                        Eastern District of North Carolina
United States Bankruptcy Court for the: ______________________________________

Case number          ___________________________________________
(If known)                                                                                                                                                   Check if this is an
                                                                                                                                                                amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       X
               Yes. Fill in all of the information below.


Part 1:            List All Secured Claims
                                                                                                                               Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                        Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                    Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                             value of collateral.   claim                 If any

2.1                                                             Describe the property that secures the claim:                    0.00
                                                                                                                               $_________________   0.00
                                                                                                                                                  $________________ $____________
        Bank of America
        ______________________________________
        Creditor’s Name

        Attn: Bankruptcy Dept.
        ______________________________________
        Number            Street

                                                                As of the date you file, the claim is: Check all that apply.
        P. O. Box 15019
        ______________________________________
                                                                   Contingent
        Wilmington            DE See
        ______________________________________                     Unliquidated
        City                          State   ZIP Code             Disputed
   Who owes the debt? Check one.                                Nature of lien. Check all that apply.
   X
            Debtor 1 only                                          An agreement you made (such as mortgage or secured
           Debtor 2 only                                           car loan)
           Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another                Judgment lien from a lawsuit
                                                                
                                                                X                                        Notice Only
                                                                    Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                          Last 4 digits of account number ___ ___ ___ ___
2.2                                                             Describe the property that secures the claim:                   4,920.00
                                                                                                                               $_________________   4,920.00
                                                                                                                                                  $________________   0.00
                                                                                                                                                                    $____________
        BK OF AMER
        ______________________________________
        Creditor’s Name
                                                            2011 Chevrolet Silverado
        PO BOX 45144
        ______________________________________
        Number            Street

                                                                As of the date you file, the claim is: Check all that apply.
        ______________________________________
                                                                   Contingent
        JACKSONVILLE FL 32232
        ______________________________________                     Unliquidated
        City                          State   ZIP Code             Disputed
   Who owes the debt? Check one.                                Nature of lien. Check all that apply.
   
   X
            Debtor 1 only                                       
                                                                X   An agreement you made (such as mortgage or secured
           Debtor 2 only                                           car loan)
           Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another                Judgment lien from a lawsuit
                                                                   Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                            9/1/2011
   Date debt was incurred ____________                                                           2 ___
                                                                Last 4 digits of account number ___ 9 ___
                                                                                                       4 ___
                                                                                                          3
        Add the dollar value of your entries in Column A on this page. Write that number here:                                  4,920.00
                                                                                                                               $_________________


  Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                                 3
                                                                                                                                                                  page 1 of ___
                 Case 17-01177-5-JNC                      Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                            Page 13 of
                     Kenneth Ray Hardin
                                                                           56
Debtor 1             _______________________________________________________                                    Case number (if known)_____________________________________
                     First Name      Middle Name          Last Name




                   Additional Page                                                                                         Column A               Column B              Column C
 Part 1:                                                                                                                   Amount of claim        Value of collateral   Unsecured
                   After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                           Do not deduct the
                   by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
2.3                                                                                                                         58,500.00           58,500.00         0.00
          Cape Fear Farm Credit, ACA
          ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
          Creditor’s Name

          PO Box 2045
          ______________________________________          2366 Case IH Combine, Case IH MX285
          Number            Street                        Tractor, 2003 HD Heritage Motorcycle
          ______________________________________           As of the date you file, the claim is: Check all that apply.
          Fayetteville          NC 28302
          ______________________________________               Contingent
          City                   State ZIP Code                Unliquidated
                                                               Disputed
      Who owes the debt? Check one.                        Nature of lien. Check all that apply.
      
      X
            Debtor 1 only                                      An agreement you made (such as mortgage or secured
           Debtor 2 only                                       car loan)
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another            Judgment lien from a lawsuit
                                                           
                                                           X                                        Money Loaned
                                                                Other (including a right to offset) ____________________
           Check if this claim relates to a
            community debt

                             2016
      Date debt was incurred ____________                  Last 4 digits of account number ___ ___ ___ ___

2.4                                                        Describe the property that secures the claim:                     112,802.00
                                                                                                                           $_________________   112,802.00 $____________
                                                                                                                                              $________________ 0.00
           CNHINDUSTR
          ______________________________________
          Creditor’s Name

           233 LAKE AV
          ______________________________________
                                                          3330 Case IH Sprayer
          Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
          ______________________________________
                                                               Contingent
           RACINE               WI 53403
          ______________________________________               Unliquidated
          City                         State   ZIP Code
                                                               Disputed
      Who owes the debt? Check one.
                                                           Nature of lien. Check all that apply.
      
      X
            Debtor 1 only
                                                               An agreement you made (such as mortgage or secured
           Debtor 2 only                                       car loan)
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another            Judgment lien from a lawsuit

           Check if this claim relates to a
                                                           
                                                           X                                        Farm Purchase
                                                                Other (including a right to offset) ____________________
            community debt

                             4/1/2016
      Date debt was incurred ____________                                                   9 ___
                                                           Last 4 digits of account number ___ 0 ___
                                                                                                  0 ___
                                                                                                     7
2.5                                                                                                                          17,091.00          17,091.00         0.00
          CNHINDUSTR
          ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
          Creditor’s Name

          233 LAKE AV
          ______________________________________
                                                          3200 Case IH Sprayer
          Number            Street

          ______________________________________           As of the date you file, the claim is: Check all that apply.
          RACINE                WI 53403
          ______________________________________               Contingent
          City                         State   ZIP Code        Unliquidated
                                                               Disputed
      Who owes the debt? Check one.                        Nature of lien. Check all that apply.
      
      X
            Debtor 1 only                                      An agreement you made (such as mortgage or secured
           Debtor 2 only                                       car loan)
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another            Judgment lien from a lawsuit
                                                           
                                                           X                                        Farm Purchase
                                                                Other (including a right to offset) ____________________
           Check if this claim relates to a
            community debt
                             5/1/2012
      Date debt was incurred ____________                                                   5 ___
                                                           Last 4 digits of account number ___ 0 ___
                                                                                                  0 ___
                                                                                                     5
                 Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                         188,393.00
                 If this is the last page of your form, add the dollar value totals from all pages.
                 Write that number here:                                                                                   $_________________

  Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___   3
                                                                                                                                                                    2 of ___
                 Case 17-01177-5-JNC                      Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                            Page 14 of
                     Kenneth Ray Hardin
                                                                           56
Debtor 1             _______________________________________________________                                    Case number (if known)_____________________________________
                     First Name      Middle Name          Last Name




                   Additional Page                                                                                         Column A               Column B              Column C
 Part 1:                                                                                                                   Amount of claim        Value of collateral   Unsecured
                   After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                           Do not deduct the
                   by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
2.6                                                                                                                         9,400.00            9,400.00          0.00
          CNHINDUSTR
          ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
          Creditor’s Name

          233 LAKE AV
          ______________________________________          1083 Case IH Combine
          Number            Street

          ______________________________________           As of the date you file, the claim is: Check all that apply.
          RACINE                WI 53403
          ______________________________________               Contingent
          City                   State ZIP Code                Unliquidated
                                                               Disputed
      Who owes the debt? Check one.                        Nature of lien. Check all that apply.
      
      X
            Debtor 1 only                                      An agreement you made (such as mortgage or secured
           Debtor 2 only                                       car loan)
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another            Judgment lien from a lawsuit
                                                           
                                                           X                                        Farm Purchase
                                                                Other (including a right to offset) ____________________
           Check if this claim relates to a
            community debt

                             8/1/2015
      Date debt was incurred ____________                                                   5 ___
                                                           Last 4 digits of account number ___ 0 ___
                                                                                                  0 ___
                                                                                                     6
2.7                                                        Describe the property that secures the claim:                     48,955.00
                                                                                                                           $_________________   60,000.00
                                                                                                                                              $________________ $____________
           DITECH FIN
          ______________________________________
          Creditor’s Name

           PO BOX 6172
          ______________________________________
                                                          Doublewide and Lot
          Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
          ______________________________________
                                                               Contingent
           RAPID CITY           SD 57709
          ______________________________________               Unliquidated
          City                         State   ZIP Code
                                                               Disputed
      Who owes the debt? Check one.
                                                           Nature of lien. Check all that apply.
      
      X
            Debtor 1 only
                                                           
                                                           X
                                                                An agreement you made (such as mortgage or secured
           Debtor 2 only                                       car loan)
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another            Judgment lien from a lawsuit

           Check if this claim relates to a
                                                               Other (including a right to offset) ____________________
            community debt

                             1/1/2002
      Date debt was incurred ____________                                                   1 ___
                                                           Last 4 digits of account number ___ 5 ___
                                                                                                  1 ___
                                                                                                     8
2.8                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
          ______________________________________
          Creditor’s Name

          ______________________________________
          Number            Street

          ______________________________________           As of the date you file, the claim is: Check all that apply.
          ______________________________________               Contingent
          City                         State   ZIP Code        Unliquidated
                                                               Disputed
      Who owes the debt? Check one.                        Nature of lien. Check all that apply.
           Debtor 1 only                                      An agreement you made (such as mortgage or secured
           Debtor 2 only                                       car loan)
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another            Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
           Check if this claim relates to a
            community debt
      Date debt was incurred ____________                  Last 4 digits of account number ___ ___ ___ ___

                 Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                         58,355.00
                 If this is the last page of your form, add the dollar value totals from all pages.
                 Write that number here:
                                                                                                                            251,668.00
                                                                                                                           $_________________

  Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___   3
                                                                                                                                                                    3 of ___
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                                       56



                               Attachment
                 Debtor: Kenneth Ray Hardin         Case No:

 Attachment 1
         19886-5019
           Case 17-01177-5-JNC                             Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                          Page 16 of
 Fill in this information to identify your case:                            56
 Debtor 1              Kenneth Ray Hardin
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


                                         Eastern District of North Carolina
 United States Bankruptcy Court for the: ______________________________________
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X
          Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         IRS
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___              0.00
                                                                                                                                 $_____________  0.00
                                                                                                                                                $___________   0.00
                                                                                                                                                             $____________
         Priority Creditor’s Name

         Attn: Managing Agent
         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         P.O. Box 7346
         ____________________________________________
                                                                      As of the date you file, the claim is: Check all that apply.
         Philadelphia PA                   19101
         ____________________________________________                    Contingent
         City                                State      ZIP Code
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
         X
                Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                               Domestic support obligations
               At least one of the debtors and another
                                                                      
                                                                      X   Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
         
         X
                No                                                       Other. Specify _________________________________
               Yes
2.2      N.C. Dept. of Revenue
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                  0.00
                                                                                                                                     $_____________  0.00
                                                                                                                                                    $___________   0.00
                                                                                                                                                                 $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         Attn: Bankruptcy Unit
         ____________________________________________
         Number             Street
         P. O. Box 1168
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

          Raleigh          NC              27602
         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
         X
                Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                      
                                                                      X   Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
         
         X      No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     4
                                                                                                                                                          page 1 of ___
Debtor 1
           Case     17-01177-5-JNC
               Kenneth   Ray Hardin        Doc 12 Filed 04/02/17 Entered
              _______________________________________________________
                                                                            04/02/17 21:51:31 Page 17 of
                                                                         Case number (if known)_____________________________________
              First Name   Middle Name      Last Name                 56
  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X
        Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1
       Crop Production Services, Inc.
       _____________________________________________________________               Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                         52,908.52
                                                                                                                                                          $__________________
                                                                                  When was the debt incurred?           ____________
       Managing Agent 3005 Rocky Mountain Avenue
       _____________________________________________________________
       Number            Street

       Loveland                 CO               80538
       _____________________________________________________________
       City                                              State    ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
          X
               Debtor 1 only                                                         Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                               Student loans

              Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No                                                                 
                                                                                  X                  Money Loaned
                                                                                      Other. Specify ______________________________________
              Yes

4.2
       Crop Production Services, Inc.                                             Last 4 digits of account number ___ ___ ___ ___                           1.00
                                                                                                                                                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
       C/O Luther D. Starling Jr. P. O. Drawer 1960
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        Smithfield            NC                  27577
       _____________________________________________________________
       City                                              State    ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated

          X
               Debtor 1 only
                                                                                     Disputed

              Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                               Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                            that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts

          X
               No                                                                 
                                                                                  X                  Money Loaned
                                                                                      Other. Specify ______________________________________

              Yes

4.3
       John Deere
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                            27,000.00
       Nonpriority Creditor’s Name                                                                                                                        $_________________
                                                                                  When was the debt incurred?           ____________
       Managing Agent P. O. Box 5328
       _____________________________________________________________
       Number            Street

       Madison                  WI               53705-0328
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                              State    ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
          X
               Debtor 1 only
                                                                                     Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                     Student loans
              Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No
                                                                                  
                                                                                  X                  Money Loaned
                                                                                      Other. Specify ______________________________________
              Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page2__ of ___
                                                                                                                                                                          4
Debtor 1
           Case     17-01177-5-JNC
              Kenneth    Ray Hardin        Doc 12 Filed 04/02/17 Entered
              _______________________________________________________
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                                                                         Case number (if known)_____________________________________
              First Name   Middle Name      Last Name                 56
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.4                                                                                Last 4 digits of account number ___ ___ ___ ___
      Luther D. Starling
      _____________________________________________________________                                                                                         0.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           ____________
      Attorney at Law P. O. Drawer 1960
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Smithfield               NC               27577-1960
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
             Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  See Attachment 1
                                                                                       Other. Specify________________________________
      
      X
             No
            Yes



4.5
      Monsanto Company                                                             Last 4 digits of account number ___ ___ ___ ___                           1.00
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           ____________
      C/O: Sigmon Law Firm P. O. Box 17249
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Raleigh                         NC        27619
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X     Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Seed Purchases
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                          42,000.00
                                                                                                                                                           $____________
                                                                                   Last 4 digits of account number ___ ___ ___ ___
      Monsato Seed Company
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           ____________
      Managing Agent 800 N. Lindbergh Blvd
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      St. Louis                       MO        63167
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
             Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Seed Purchases
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3__ of ___
                                                                                                                                                                       4
Debtor 1
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               Kenneth   Ray Hardin        Doc 12 Filed 04/02/17 Entered
              _______________________________________________________
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                                                                         Case number (if known)_____________________________________
              First Name   Middle Name      Last Name                 56
Part 4:      Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        121,910.52


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         121,910.52
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page4__ of ___
                                                                                                                                                 4
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                                          56



                                  Attachment
                    Debtor: Kenneth Ray Hardin         Case No:

 Attachment 1
          Notice Only:
          Represents Crop Production Services
          Case 17-01177-5-JNC                       Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                   Page 21 of
                                                                     56

 Fill in this information to identify your case:

 Debtor               Kenneth Ray Hardin
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Eastern District of North Carolina
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
          Case 17-01177-5-JNC                             Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                              Page 22 of
                                                                           56
 Fill in this information to identify your case:

 Debtor 1          Kenneth Ray Hardin
                   __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Eastern District of North Carolina
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      X
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X
           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                 page 1 of ___
          Case 17-01177-5-JNC                     Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                 Page 23 of
                                                                   56
 Fill in this information to identify your case:


 Debtor 1            Kenneth Ray Hardin
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          Eastern District of North Carolina
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                     X   Employed
     employers.                                                         Not employed                                 FillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Self-Employed Farmer
                                                                      __________________________________          Clerk
                                                                                                                  __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Self-Employed
                                                                     __________________________________           Clerk of Court Robeson County
                                                                                                                  __________________________________


                                          Employer’s address       ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________      Lumberton, NC 28358
                                                                                                                ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______
                                                                           36 years                                _______
                                                                                                                   28 years


  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.      1,666.67                 2,635.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                 0.00             +      0.00
                                                                                                                       $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     1,666.67
                                                                                              $__________                2,635.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
           Case 17-01177-5-JNC                               Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                                  Page 24 of
                                                                              56
Debtor 1          Kenneth Ray Hardin
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.       1,666.67
                                                                                                                            $___________              2,635.00
                                                                                                                                                    $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5e. Insurance                                                                                                5e.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                              0.00              +    0.00
                                                                                                                                                    $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.       1,666.67
                                                                                                                           $____________              2,635.00
                                                                                                                                                    $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                2,000.00                 0.00
                                                                                                                           $____________            $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                            0.00                     0.00
                                                                                                                           $____________            $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8e. Social Security                                                                                          8e.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                             0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                              0.00               + $_____________
                                                                                                                                                    0.00

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       2,000.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                             3,666.67
                                                                                                                           $___________     +         2,635.00
                                                                                                                                                    $_____________       =     6,301.67
                                                                                                                                                                             $_____________

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.         6,301.67
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X
            No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                    page 2
           Case 17-01177-5-JNC                     Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                         Page 25 of
                                                                    56
 Fill in this information to identify your case:

 Debtor 1          Kenneth Ray Hardin
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                         Eastern District of North Carolina
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  
                                            X    No                                 Dependent’s relationship to                 Dependent’s    Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                        age            with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                        Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   540.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      0.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
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                                                                  56
Debtor 1          Kenneth Ray Hardin
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                        0.00
                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.    Electricity, heat, natural gas                                                                    6a.      257.00
                                                                                                                      $_____________________
      6b.    Water, sewer, garbage collection                                                                  6b.      32.00
                                                                                                                      $_____________________
      6c.    Telephone, cell phone, Internet, satellite, and cable services                                    6c.      25.00
                                                                                                                      $_____________________
      6d.    Other. Specify: _______________________________________________                                   6d.      0.00
                                                                                                                      $_____________________

 7. Food and housekeeping supplies                                                                             7.       450.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.       0.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.       100.00
                                                                                                                      $_____________________
10.   Personal care products and services                                                                      10.      25.00
                                                                                                                      $_____________________
11.   Medical and dental expenses                                                                              11.      25.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        400.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.      0.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.      0.00
                                                                                                                      $_____________________
                                                                                                                                                    16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.     0.00
                                                                                                                      $_____________________
      15b. Health insurance                                                                                    15b.     0.00
                                                                                                                      $_____________________
      15c. Vehicle insurance                                                                                   15c.     0.00
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.     0.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                        0.00
                                                                                                                      $_____________________
      Specify: ________________________________________________________                                        16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                          17a.     523.00
                                                                                                                      $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.     0.00
                                                                                                                      $_____________________

                           3330 Case IH Sprayer
      17c. Other. Specify:_______________________________________________                                      17c.    1,983.33
                                                                                                                      $_____________________

                           1083 Case IH Combine
      17d. Other. Specify:_______________________________________________                                      17d.    375.00
                                                                                                                      $_____________________
                                                                                                                         See Attachment 1
18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.     0.00
                                                                                                                      $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.    0.00
                                                                                                                      $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.    0.00
                                                                                                                      $_____________________

      20b. Real estate taxes                                                                                   20b.    0.00
                                                                                                                      $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.    0.00
                                                                                                                      $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.    0.00
                                                                                                                      $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.    0.00
                                                                                                                      $_____________________



  Official Form 106J                                           Schedule J: Your Expenses                                                   page 2
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                                                                  56
Debtor 1         Kenneth Ray Hardin
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                           0.00


22.    Calculate your monthly expenses.                                                                                   6,151.99
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               6,151.99
                                                                                                                         $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.




23. Calculate your monthly net income.
                                                                                                                           6,301.67
                                                                                                                          $_____________________
      23a.    Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.    Copy your monthly expenses from line 22 above.                                                     23b.   – $_____________________
                                                                                                                           6,151.99

      23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                            149.68
                                                                                                                          $_____________________
              The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X
          No.
         Yes.      Explain here:




  Official Form 106J                                          Schedule J: Your Expenses                                                       page 3
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                                          56



                              Attachment
                Debtor: Kenneth Ray Hardin                Case No:
 Attachment 1
     Type of Installment or Lease: 3200 Case IH Sprayer
     Amount: $1,416.66
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                                                                            56

 Fill in this information to identify your case:

 Debtor 1          Kenneth                 Ray                   Hardin
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


                                         Eastern District of North Carolina
 United States Bankruptcy Court for the: ______________________________________

 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................
                                                                                                                                                                            60,000.00
                                                                                                                                                                          $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................              248,074.00
                                                                                                                                                                          $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                            308,074.00
                                                                                                                                                                          $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                            251,668.00
                                                                                                                                                                          $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            0.00
                                                                                                                                                                          $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +     121,910.52
                                                                                                                                                                          $ ________________


                                                                                                                                     Your total liabilities                 373,578.52
                                                                                                                                                                          $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                            6,301.67
                                                                                                                                                                          $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                      6,151.99
                                                                                                                                                                          $ ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
           Case 17-01177-5-JNC                    Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                    Page 30 of
                                                                   56
Debtor 1    Kenneth               Ray                   Hardin
               _______________________________________________________                             Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X
      Yes


7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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                                                                          56
Fill in this information to identify your case:

Debtor 1          Kenneth Ray Hardin
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


                                              Eastern District Of North Carolina
United States Bankruptcy Court for the: _______________________________________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X
         No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         /s/Kenneth Ray Hardin
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


              04/02/2017
         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
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                                                                   56

 Fill in this information to identify your case:

 Debtor 1           Kenneth                 Ray                   Hardin
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                          Eastern District of North Carolina
 United States Bankruptcy Court for the: ____________________________________________

 Case number         ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married


       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X
           No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1

               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
           Case 17-01177-5-JNC                       Doc 12 Filed 04/02/17 Entered 04/02/17 21:51:31                                         Page 33 of
                                                                      56
Debtor 1        Kenneth Ray Hardin
                _______________________________________________________                                  Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            0.00
                                                                                         $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                            
                                                            X
                                                                 Operating a business                                Operating a business


            For last calendar year:                             Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            20,000.00
                                                                                         $________________            bonuses, tips           $________________
                                       2016
            (January 1 to December 31, _________)           
                                                            X
                                                                 Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:                  Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          20,000.00
                                                                                         $________________                                    $________________
                                       2015
            (January 1 to December 31, _________)           
                                                            X
                                                                 Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X
           No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
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                                                                       56
Debtor 1        Kenneth Ray Hardin
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    X    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               X
                    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



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Debtor 1           Kenneth Ray Hardin
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X
           No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X
           No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




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Debtor 1        Kenneth Ray Hardin
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X
           Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  Suit for Money Owed
                                                                                                        Robeson County Superior Court
                        Crop Production Services, Inc.
            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                        
                                                                                                                                                        X
                                                                                                                                                            Pending

            vs. Kenneth Ray Hardin                                                                                                                         On appeal
            ____________________________________                                                        500 N. Elm Street
                                                                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

                        15 CVS 2348
            Case number ________________________                                                        Lumberton          NC     28358
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     X
           No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



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Debtor 1          Kenneth Ray Hardin
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X
           No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X
           No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X
           No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________
           Number Street


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X
           No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X
           Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Chad W. Hammonds                                                                                                            transfer was made
            ___________________________________
            Person Who Was Paid
                                                                 $310.00 for Filing Fee
            P. O. Box 7
            ___________________________________
            Number       Street                                                                                                         03/09/17
                                                                                                                                        _________            310.00
                                                                                                                                                            $_____________

            ___________________________________
                                                                                                                                        _________           $_____________
            Maxton              NC     28364
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X
           No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X
           No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     X
           No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     X
           No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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                      _______________________________________________________                                              Case number (if known)_____________________________________
                      First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    X
             No
            Yes. Fill in the details.
                                                                       Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                            have it?


               ___________________________________                     _______________________________________                                                                No
               Name of Storage Facility                                Name                                                                                                   Yes
               ___________________________________                     _______________________________________                                                               
               Number       Street                                     Number    Street

               ___________________________________                     _______________________________________
                                                                       City State ZIP Code
               ___________________________________
               City                        State     ZIP Code



 Part 9:                Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        X
             No
            Yes. Fill in the details.
                                                                      Where is the property?                                    Describe the property                    Value


               ___________________________________
               Owner’s Name                                                                                                                                              $__________
                                                                     _________________________________________
               ___________________________________                   Number     Street
               Number        Street
                                                                     _________________________________________
               ___________________________________
                                                                     _________________________________________
               ___________________________________                   City                             State     ZIP Code
               City                        State     ZIP Code


 Part 10:               Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        X
             No
            Yes. Fill in the details.
                                                                       Governmental unit                            Environmental law, if you know it                   Date of notice



              ____________________________________                    _______________________________                                                                    _________
              Name of site                                            Governmental unit

              ____________________________________                    _______________________________
              Number       Street                                     Number    Street

                                                                      _______________________________
              ____________________________________                    City                   State   ZIP Code


              ____________________________________
              City                        State     ZIP Code



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Debtor 1           Kenneth Ray Hardin
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     X
           No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                         _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X
           No
          Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                          Pending
           ______________________________________
                                                                                                                                                                          On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                              ________________________________
                                                                    City                        State   ZIP Code
                                                                                                                                                                         

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     X
           No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code


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                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X
           No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




            /s/Kenneth Ray Hardin
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


                  2 April 2017
            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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                                                                    56
  Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by
  Debtor 1          Kenneth Ray Hardin
                    __________________________________________________________________                         this Statement:
                      First Name             Middle Name             Last Name

  Debtor 2            ________________________________________________________________                         
                                                                                                               X
                                                                                                                   1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).
                                          EASTERN DISTRICT OF NORTH CAROLINA
  United States Bankruptcy Court for the: ______________________________________                                  2. Disposable income is determined
                                                                                                                      under 11 U.S.C. § 1325(b)(3).
  Case number         ___________________________________________
  (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                               
                                                                                                               X
                                                                                                                   4. The commitment period is 5 years.


                                                                                                              
                                                                                                               Check if this is an amended filing



Official Form 122C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
   
   X
        Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A             Column B
                                                                                                   Debtor 1             Debtor 2 or
                                                                                                                        non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                              1,666.67
                                                                                                   $__________              2,635.00
                                                                                                                          $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                         0.00
                                                                                                   $__________                  0.00
                                                                                                                          $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Do not include payments from a spouse. Do not include payments you
   listed on line 3.                                                                                    0.00
                                                                                                   $_________                   0.00
                                                                                                                          $__________

5. Net income from operating a business, profession, or
                                                                    Debtor 1     Debtor 2
   farm
   Gross receipts (before all deductions)
                                                                       0.00
                                                                     $______     0.00
                                                                               $______
                                                                             _         _
   Ordinary and necessary operating expenses                    –                0.00 _
                                                                       0.00 –_ $______
                                                                     $______
                                                                                            Copy
   Net monthly income from a business, profession, or farm
                                                                       0.00
                                                                     $______       0.00 here
                                                                                 $______                0.00
                                                                                                   $_________                  0.00
                                                                                                                         $__________

6. Net income from rental and other real property                   Debtor 1     Debtor 2

   Gross receipts (before all deductions)                              0.00
                                                                     $______     0.00
                                                                               $______
                                                                             _         _
   Ordinary and necessary operating expenses                    –      0.00 –_ $______
                                                                     $______     0.00 _
                                                                                            Copy
   Net monthly income from rental or other real property               0.00
                                                                     $______       0.00 here
                                                                                 $______                0.00
                                                                                                   $_________                  0.00
                                                                                                                         $__________



 Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                          page 1
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   Debtor 1              Kenneth Ray Hardin
                         _______________________________________________________                    56        Case number (if known)_____________________________________
                         First Name               Middle Name                        Last Name



                                                                                                                                                                   Column A                                 Column B
                                                                                                                                                                   Debtor 1                                 Debtor 2 or
                                                                                                                                                                                                            non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                       0.00
                                                                                                                                                                    $____________                                     0.00
                                                                                                                                                                                                                $__________

8. Unemployment compensation                                                                                                                                                0.00
                                                                                                                                                                    $____________                                     0.00
                                                                                                                                                                                                                $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you.....................................................................................              $_____________
        For your spouse.....................................................................                      $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                                                 0.00
                                                                                                                                                                    $____________                                     0.00
                                                                                                                                                                                                                $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total below.
                                                                                                                                                                    $____________                              $___________
        __________________________________________________________________
                                                                                                                                                                    $____________                              $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                              + $____________
                                                                                                                                                                         0.00                             + $__________
                                                                                                                                                                                                                   0.00

11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                 1,666.67
                                                                                                                                                                    $____________                    +             2,635.00
                                                                                                                                                                                                               $___________                  =    4,301.67
                                                                                                                                                                                                                                                 $________
                                                                                                                                                                                                                                                 Total average
                                                                                                                                                                                                                                                 monthly income




Part 2:             Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                                                4,301.67
                                                                                                                                                                                                                                              $_____________
13. Calculate the marital adjustment. Check one:

         You are not married. Fill in 0 below.
         You are married and your spouse is filing with you. Fill in 0 below.
     
     X
          You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                  $___________
            __________________________________________________________________________                                                                                  $___________

            __________________________________________________________________________                                                                              + $___________
          Total ................................................................................................................................................                0.00
                                                                                                                                                                        $___________
                                                                                                                                                                                                         Copy here                         ─____________
                                                                                                                                                                                                                                                     0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                                                     4,301.67
                                                                                                                                                                                                                                              $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                  ...........................................................................................................................................................................................         4,301.67
                                                                                                                                                                                                                                             $ ____________

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                        x 12
     15b. The result is your current monthly income for the year for this part of the form. ...................................................................................                                                                51,620.04
                                                                                                                                                                                                                                             $___________


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                          First Name              Middle Name                     Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                NC
                                                                                                           _________

     16b. Fill in the number of people in your household.                                                      2
                                                                                                           _________


     16c. Fill in the median family income for your state and size of household. .................................................................................................                                             53,278.00
                                                                                                                                                                                                                             $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.    
             X
                    Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.


Part 3:                Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. .............................................................................................................................
                                                                                                                                                                                                                               4,301.67
                                                                                                                                                                                                                             $__________

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                                                 ─ $__________
                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                      4,301.67
                                                                                                                                                                                                                             $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ..............................................................................................................................................................................................       4,301.67
                                                                                                                                                                                                                            $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                             x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                                                   51,620.04
                                                                                                                                                                                                                            $___________


     20c. Copy the median family income for your state and size of household from line 16c. .....................................................................
                                                                                                                                                                                                                              53,278.00
                                                                                                                                                                                                                            $___________

21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.
     
     X
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.


Part 4:             Sign Below


                    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

                     /s/Kenneth Ray Hardin
                           ___________________________________________________                                                               ____________________________________
                          Signature of Debtor 1                                                                                                    Signature of Debtor 2


                               04/02/2017
                          Date _________________                                                                                                   Date _________________
                                   MM / DD          / YYYY                                                                                                  MM /      DD        / YYYY


                    If you checked 17a, do NOT fill out or file Form 122C–2.
                    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



   Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                         page 3
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                                                                     56
 Fill in this information to identify your case:

 Debtor 1           Kenneth Ray Hardin
                   __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


                                          EASTERN DISTRICT OF NORTH CAROLINA
 United States Bankruptcy Court for the: _______________________________________

 Case number         ___________________________________________
 (If known)
                                                                                                                   Check if this is an amended filing


Official Form 122C–2
Chapter 13 Calculation of Your Disposable Income                                                                                                04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Part 1:           Calculate Your Deductions from Your Income



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use
   some of your actual expenses if they are higher than the standards. Do not include any operating expenses that you
   subtracted from income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you subtracted from your
   spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




      5.   The number of people used in determining your deductions from income
           Fill in the number of people who could be claimed as exemptions on your federal income tax
           return, plus the number of any additional dependents whom you support. This number may
           be different from the number of people in your household.



      National
                                  You must use the IRS National Standards to answer the questions in lines 6-7.
      Standards



      6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
                                                                                                                                     $___________
           Standards, fill in the dollar amount for food, clothing, and other items.



      7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two
           categories─people who are under 65 and people who are 65 or older─because older people have a higher IRS
           allowance for health care costs. If your actual expenses are higher than this IRS amount, you may deduct the
           additional amount on line 22.




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Debtor 1        Kenneth Ray Hardin
                _______________________________________________________
                                                                        56 Case number (if known)_____________________________________
                First Name          Middle Name                 Last Name




            People who are under 65 years of age

             7a. Out-of-pocket health care allowance per person $______________

             7b. Number of people who are under 65                                       X ______
                                                                                                                        Copy
             7c. Subtotal. Multiply line 7a by line 7b.                                  $______________                               $___________
                                                                                                                        here

              People who are 65 years of age or older

             7d. Out-of-pocket health care allowance per person $______________

             7e. Number of people who are 65 or older                                    X ______
                                                                                                                        Copy
             7f. Subtotal. Multiply line 7d by line 7e.                                  $______________                here
                                                                                                                                     + $__________

       7g. Total. Add lines 7c and 7f. ......................................................................................................... $___________   Copy here ....... $___________


     Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
     Standards

    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
     Housing and utilities – Insurance and operating expenses
     Housing and utilities – Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
    specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

    8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.                                                                                        $___________


    9. Housing and utilities – Mortgage or rent expenses:

             9a. Using the number of people you entered in line 5, fill in the dollar amount
                   listed for your county for mortgage or rent expenses.                                                               $____________

             9b. Total average monthly payment for all mortgages and other debts secured by
                  your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                         Name of the creditor                                                Average monthly
                                                                                             payment


                       _________________________________                                      $__________
                       _________________________________                                      $__________
                       _________________________________
                                                                                         +    $__________
                                                                                                                        Copy
                                  9b. Total average monthly payment                           $__________               here
                                                                                                                                     ─ $____________Repeat   this amount
                                                                                                                                                    on line 33a.

            9c. Net mortgage or rent expense.
                  Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                           $____________ Copy here ........ $___________
                  rent expense). If this number is less than $0, enter $0.

   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects
                                                                                                                                                                                $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain            _______________________________________________________________
             why:
                                _______________________________________________________________


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                 _______________________________________________________
                                                                         56 Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name



   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.
              1. Go to line 12.
              2 or more. Go to line 12.

   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
       expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                 $___________


   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


            Vehicle 1          Describe Vehicle 1:     _________________________________________________________________
                                                       _________________________________________________________________


       13a. Ownership or leasing costs using IRS Local Standard ......................................      $____________

       13b. Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e,
               add all amounts that are contractually due to each secured
               creditor in the 60 months after you file for bankruptcy. Then divide
               by 60.

                 Name of each creditor for Vehicle 1               Average monthly
                                                                   payment

                _________________________________                     $__________
                _________________________________                 +   $__________
                                                                                            Copy                            Repeat this amount
                              Total average monthly payment
                                                                                            here
                                                                                                          ─ $___________    on line 33b.
                                                                      $__________

       13c. Net Vehicle 1 ownership or lease expense                                                                         Copy net Vehicle
               Subtract line 13b from line 13a. If this number is less than $0, enter $0. .............     $___________     1 expense here $___________


            Vehicle 2          Describe Vehicle 2:     _________________________________________________________________
                                                       _________________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard ...................................       $___________

       13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.

                 Name of each creditor for Vehicle 2               Average monthly
                                                                   payment
                _________________________________                     $__________
                _________________________________                 +   $__________
                                                                                             Copy                           Repeat this amount
                              Total average monthly payment
                                                                                             here
                                                                                                          ─ $___________    on line 33c.
                                                                      $__________

           13f. Net Vehicle 2 ownership or lease expense                                                                     Copy net Vehicle
                                                                                                            $__________      2 expense here   $___________
               Subtract line 13e from 13d. If this number is less than $0, enter $0. .................
                                                                                                                             

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                     $___________


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                               $___________


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                   _______________________________________________________
                                                                           56 Case number (if known)_____________________________________
                   First Name     Middle Name         Last Name



     Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
     Expenses                       following IRS categories.

   16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
       from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected                                               $___________
       refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                      $___________

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of
       life insurance other than term.                                                                                                                           $___________

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.                                                                                                        $___________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or                                                                                                                         $___________
        for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                                 $___________
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
       required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
       savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                 $___________
       Payments for health insurance or health savings accounts should be listed only in line 25.

   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.                                                                                                         +$_________
       Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Form 122C-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                                         $___________
       Add lines 6 through 23.

     Additional Expense                   These are additional deductions allowed by the Means Test.
     Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                       $__________

           Disability insurance                                   $__________
           Health savings account                            + $__________
           Total                                                  $__________     Copy total here ..........................................................................
                                                                                                                                                                           $___________

           Do you actually spend this total amount?
             No. How much do you actually spend?
                                                                  $__________
             Yes

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may                                              $___________
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
           you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
                                                                                                                                                                 $___________
       By law, the court must keep the nature of these expenses confidential.


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                   _______________________________________________________
                                                                           56 Case number (if known)_____________________________________
                   First Name          Middle Name               Last Name




    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
       then fill in the excess amount of home energy costs.                                                                                                                 $_______
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more
                                                                                                                                                                            $_______
           than $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a
           private or public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.


    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
                                                                                                                                                                            $_______
           higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
           than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
           You must show that the additional amount claimed is reasonable and necessary.

    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
           instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).                                                                          + $________
           Do not include any amount more than 15% of your gross monthly income.

    32. Add all of the additional expense deductions.                                                                                                                      $_________
           Add lines 25 through 31.


     Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
           loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due
       to each secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                           Average monthly
                                                                                                                                           payment
            Mortgages on your home                                                                         
            33a. Copy line 9b here ...................................................................................................    $___________
           
            Loans on your first two vehicles                                                               
            33b. Copy line 13b here. ...............................................................................................      $___________
      
            33c. Copy line 13e here. ...............................................................................................      $___________

            33d. List other secured debts:

                                                                                                                      
                     Name of each creditor for other                               Identify property that            Does
                     secured debt                                                  secures the debt                  payment
                                                                                                                     include taxes
                                                                                                                     or insurance?

                                                                                                                      
                                                                                                                       No
                                                                                                                              $___________
                     ___________________________________ ________________________                                     
                                                                                                                       Yes
                                                                                                                      
                                                                                                                       No
                                                                                                                              $___________
                     ___________________________________ ________________________                                     
                                                                                                                       Yes
                                                                                                                      
                                                                                                                       No
                                                                                                                            + $___________
                     ___________________________________ ________________________                                     
                                                                                                                       Yes
                                                                                                                                                             Copy total
            33e. Total average monthly payment. Add lines 33a through 33d. ..........................................                      $___________                     $_______
                                                                                                                                                             here


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                 _______________________________________________________
                                                                         56 Case number (if known)_____________________________________
                 First Name           Middle Name                  Last Name




   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary
       for your support or the support of your dependents?


           No. Go to line 35.
           Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

                         Name of the creditor                         Identify property that                Total cure                                 Monthly cure amount
                                                                      secures the debt                      amount


                      _________________________                       __________________                    $__________              ÷ 60 =            $___________


                      _________________________                       __________________                    $__________              ÷ 60 =            $___________


                      _________________________                       __________________                    $__________              ÷ 60 = + $___________
                                                                                                                                                                                       Copy
                                                                                                                                    Total              $___________                    total    $___________
                                                                                                                                                                                       here


   35. Do you owe any priority claimssuch as a priority tax, child support, or alimony that are past due as of
       the filing date of your bankruptcy case? 11 U.S.C. § 507.
       
       X
            No. Go to line 36.
           Yes. Fill in the total amount of all of these priority claims. Do not include current or
                 ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due priority claims. ......................................................................... $______________                          ÷ 60     $___________
                                                                                                                                                                                       =
   36. Projected monthly Chapter 13 plan payment                                                                                                       $______________

       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).
                                                                                                                                                   x %______
       To find a list of district multipliers that includes your district, go online using the link
       specified in the separate instructions for this form. This list may also be available at the
       bankruptcy clerk’s office.
                                                                                                                                                                                       Copy
       Average monthly administrative expense                                                                                                          $______________                 total    $___________
                                                                                                                                                                                       here


   37. Add all of the deductions for debt payment. Add lines 33e through 36.
                                                                                                                                                                                                $___________




     Total Deductions from Income

   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS expense allowances ..................................... $______________

      Copy line 32, All of the additional expense deductions ......................................................................... $______________

      Copy line 37, All of the deductions for debt payment ............................................................................+ $______________
                                                                                                                                                                                       Copy
      Total deductions ............................................................................................................................................. $______________   total    $___________
                                                                                                                                                                                       here 




Official Form 122C─2                                                 Chapter 13 Calculation of Your Disposable Income                                                                                          page 6
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Debtor 1           Kenneth Ray Hardin
                   _______________________________________________________
                                                                           56 Case number (if known)_____________________________________
                   First Name         Middle Name               Last Name


Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13                                                                                         $___________
     Statement of Your Current Monthly Income and Calculation of Commitment Period.......................................................................

40. Fill in any reasonably necessary income you receive for support for dependent
     children. The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part I of Form 122C-1, that you                                                $____________
     received in accordance with applicable nonbankruptcy law to the extent reasonably
     necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
     employer withheld from wages as contributions for qualified retirement plans, as
                                                                                                                                           $____________
     specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement
     plans, as specified in 11 U.S.C. § 362(b)(19).


42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ............  $____________


43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special circumstances
     and their expenses. You must give your case trustee a detailed explanation of the
     special circumstances and documentation for the expenses.

      Describe the special circumstances                                                   Amount of expense

       ______________________________________________________                                 $___________

       ______________________________________________________
                                                                                              $___________
       ______________________________________________________                              + $___________
                                                                                                                       Copy here
                                                                            Total             $___________                          + $_____________

                                                                                                                                           $____________
44. Total adjustments. Add lines 40 through 43........................................................................................                    Copy here      – $________


45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                            $___________




Part 3:             Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed
     or are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be
     open, fill in the information below. For example, if the wages reported increased after you filed your petition, check
     122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill in when the increase
     occurred, and fill in the amount of the increase.

      Form                 Line       Reason for change                                         Date of change              Increase or          Amount of change
                                                                                                                            decrease?

      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease
      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease
      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease

      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease


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Debtor 1       Kenneth Ray Hardin
               _______________________________________________________
                                                                       56 Case number (if known)_____________________________________
               First Name            Middle Name   Last Name



Part 4:         Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.



 /s/Kenneth Ray Hardin
    ___________________________________________________                  __________________________________
    Signature of Debtor 1                                                    Signature of Debtor 2


          04/02/2017
    Date _________________                                                   Date _________________
           MM / DD          / YYYY                                                MM / DD      / YYYY




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B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                             EASTERN DISTRICT OF NORTH CAROLINA



In re
          Kenneth Ray Hardin
                                                                                                Case No. ___________________

Debtor                                                                                                  13
                                                                                                Chapter ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              0.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                            0.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                               0.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

                Debtor                               Other (specify)

3.   The source of compensation to be paid to me is:

                Debtor                               Other (specify)

4.            I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]

          I did not charge this Debtor any legal fees




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           April 2, 2017
           ______________________               /s/Chad W. Hammonds
           Date                                     Signature of Attorney

                                                Chad W. Hammonds
                                                    Name of law firm
